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                                                                                   CLERK'S OFFICE U.S. DIST. COURT
                                                                                       AT HARRISONBURG, VA
                                                                                               FILED
                            IN THE UNITED STATES DISTRICT COURT                                9/30/2019
                           FOR THE WESTERN DISTRICT OF VIRGINIA                        JULIA C. DUDLEY, CLERK
                                   HARRISONBURG DIVISION                              BY: s/ J. Vasquez

                                                                                            DEPUTY CLERK
PRISON LEGAL NEWS,                               )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )       Civil Action No. 5:15-cv-00061
                                                 )
NORTHWESTERN REGIONAL JAIL                       )       By: Elizabeth K. Dillon
AUTHORITY, et al.,                               )           United States District Judge
                                                 )
       Defendants.                               )

                                 ORDER AND FINAL JUDGMENT

       In accordance with the memorandum opinion entered this day, it is hereby ORDERED that:

       1.       Prison Legal News (PLN) is granted judgment against Northwestern Regional Jail

Authority (NRJA) on its First Amendment claim in Count I;

       2.       PLN is granted judgment against NRJA and James F. Whitley on its due process claim in

Count II;

       3.       PLN is awarded $669.12 in compensatory damages for the First Amendment violation:

$197.12 in cost damages, and $472.00 in presumed damages; and

       4.       PLN is awarded $472.00 in compensatory damages for the due process violation.

       It is further DECLARED that Northwestern Regional Adult Detention Center’s (NRADC) April

1, 2014 policy prohibiting prisoners from receiving books or magazines “through the mail, directly from

the publisher, or from a distribution source,” and the actions of defendants pursuant thereto, violated

PLN’s First and Fourteenth Amendment rights.

       Entered: September 30, 2019.

                                      /s/ Elizabeth K. Dillon
                                      Elizabeth K. Dillon
                                      United States District Judge
